                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF IOWA
                             EASTERN DIVISION



 UNITED STATES OF AMERICA,
               Plaintiff,                                 No. CR13-2013-LRR
 vs.
                                                                 ORDER
 FROLLY MAURICE BALL,
               Defendant.

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       This matter comes before the court on the defendant’s pro se motion for extension
of time to object and to negotiate (docket no. 161) and pro se motion for reconsideration
(docket no. 162). The defendant filed both motions on August 26, 2014.
       The defendant filed both motions while represented by counsel.               This is
impermissible. The defendant does not have a constitutional right to hybrid representation,
that is, the defendant must either choose to proceed pro se or choose to utilize the full
assistance of counsel who would present his defense. See United States v. Swinney, 970
F.2d 494, 498 (8th Cir. 1992); see also United States v. Lewis, 738 F.2d 916, 924 (8th
Cir. 1984) (stating “[a] defendant in a criminal case does not have a constitutional right
both to represent himself and to be represented by counsel” (citing United States v. Olson,
576 F.2d 1267, 1270 (8th Cir. 1978))); United States v. Williams, 534 F.2d 119, 123 (8th
Cir. 1976) (stating “a criminal defendant has a right to represent himself or, alternatively,
to be represented by counsel” (citing Faretta v. California, 422 U.S. 806, 95 S. Ct. 2525,
45 L. Ed. 2d 562 (1975))); cf. United States v. Blum, 65 F.3d 1436, 1443 n.2 (8th Cir.
1995) (noting it is Eighth Circuit policy to refuse to consider pro se filings when a party
is represented by counsel (citing Hoggard v. Purkett, 29 F.3d 469, 472 (8th Cir. 1994))).
Because he is currently being represented by F. Montgomery Brown, the court need not



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address the instant motions. Accordingly, the defendant’s pro se motion for extension of
time to object and to negotiate (docket no. 161) and pro se motion for reconsideration
(docket no. 162) are denied without prejudice. If counsel deems it appropriate to have the
court address the issues raised by the defendant, counsel is directed to submit a proper
motion. The clerk’s office is directed to send a copy of this order to the defendant.


      IT IS SO ORDERED.
      DATED this 26th day of August, 2014.




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